      Case 3:16-cr-00051-BR   Document 2605   Filed 04/05/18   Page 1 of 7




                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF OREGON


UNITED STATES OF AMERICA,                      3:16-cr-00051-BR

           Plaintiff,                          ORDER DISMISSING IN PART
                                               AMENDED PETITION FOR
v.                                             ANCILLARY PROCEEDING TO
                                               RECOVER PROPERTY
AMMON BUNDY, et al.,

           Defendants,

JEANETTE FINICUM,

           Petitioner.



BROWN, Senior Judge.

      This matter comes before the Court on Respondent Jeanette

Finicum's Amended Petition (#2444) for Ancillary Proceeding to

Recover Property in which Jeanette Finicum claims an interest in

two firearms   (an Aldo Uberti .45 caliber rifle, model 1982,

serial number T1490 and a Rossi .38 caliber revolver) that

Jeanette Finicum asserts belonged to her late-husband, Robert

LaVoy Finicum.

      On December 4, 2017, Jeanette Finicum filed her original

Petition (#2370) for Ancillary Proceeding to Recover Property in


1 -   ORDER DISMISSING IN PART AMENDED PETITION FOR ANCILLARY
      PROCEEDING TO RECOVER PROPERTY
      Case 3:16-cr-00051-BR   Document 2605   Filed 04/05/18   Page 2 of 7




which she claimed an interest in the Rossi .38 caliber revolver

and a Rossi lever-action rifle, model 92, serial number SK124443.

Together with her original Petition Jeanette Finicum submitted

two photographs of LaVoy Finicum holding a rifle in a scabbard

during the occupation of the Malheur National Wildlife Refuge

(MNWR).

      The government filed a Response (#2386) to Jeanette

Finicum's Petition together with a Declaration (#2387) of Federal

Bureau of Investigation Special Agent (SA) Travis Welter in which

SA Welter indicated the Rossi lever-action rifle was registered

to another individual who was part of the occupation of the MNWR,

and that the rifle did not have any connection to Lavoy Finicum.

      Instead of a reply memorandum, Jeanette Finicum filed an

Amended Petition (#2444) on January 29, 2018, in which she

abandoned her claim to the Rossi lever-action rifle, added a

claim to the Aldo Uberti .45 caliber rifle, and reiterated her

claim to the Rossi .38 caliber revolver.          Because Jeanette

Finicum's Amended Petition superseded her original Petition

(#2370), the Court denied Jeanette Finicum's original Petition as

moot on February 27, 2018, and directed the government to file a

response to Jeanette Finicum's Amended Petition.               The government

filed its Response (#2592) on March 13, 2018, together with

another Declaration (#2593) from SA Welter.           Jeanette Finicum

filed a Reply (#2604) on April 2, 2018, together with a

2 -   ORDER DISMISSING IN PART AMENDED PETITION FOR ANCILLARY
      PROCEEDING TO RECOVER PROPERTY
      Case 3:16-cr-00051-BR   Document 2605   Filed 04/05/18     Page 3 of 7




photograph of LaVoy Finicum taken in the 1990s in which he is

holding a rifle that Jeanette Finicum states is the Aldo Uberti

.45 caliber rifle currently subject to forfeiture.

      21 U.S.C.    §   853(n) and Federal Rule of Criminal Procedure

32.2(c) govern third-party claims to property subject to

forfeiture in a criminal case.        When a third party files a

petition contesting the forfeiture of property after a criminal

conviction, that individual is entitled to an ancillary

proceeding to determine whether the claim should be granted.                        See

21 U.S.C.   §   853 (n) (2); Fed. R. Crim. P. 32.2 (c) (1).          In order to

prevail in such proceedings, the petitioner must prove by a

preponderance of the evidence that she (1) "has a legal right,

title, or interest in the property" that renders the order of

forfeiture invalid because the petitioner's interest in the

property was greater than that of any defendant or (2) was a

"bona fide purchaser for value."        21 U.S. C.   §     853 (n) ( 6) .

      Before the court conducts a hearing on any such petition,

the government may move to dismiss for lack of standing or for

failure to state a claim.        Fed. R. Crim. P. 32.2(c) (1) (A).             In

adjudicating any such motion, however, the court must assume the

facts set out in the petition to be true.            Id.     If the court

denies such a motion to dismiss the court may order discovery in

accordance with the Federal Rules of Civil Procedure if

"necessary or desirable to resolve factual issues."                  Fed. R.

3 -   ORDER DISMISSING IN PART AMENDED PETITION FOR ANCILLARY
      PROCEEDING TO RECOVER PROPERTY
       Case 3:16-cr-00051-BR    Document 2605   Filed 04/05/18   Page 4 of 7




Crim. P. 32.2 (c) (1) (B).

       In its Responses    (#2386, #2592) to Jeanette Finicum's

Petition and Amended Petition, the government contends this Court

should deny Jeanette Finicum's Petition on the basis that (1) the

Rossi .38 caliber revolver is not among those firearms to be

forfeited in this proceeding, but instead is included in those

firearms that the government seeks to forfeit in a separate

civil-forfeiture proceeding (United States v. 50 Firearms, No.

3:16-cv-01057-MA) and (2) Jeanette Finicum fails to meet her

burden to prove that she has a sufficient legal right, title, or

interest in the Aldo Uberti .45 caliber rifle under 21 U.S.C.

§   853(n)(6)(A). 1

       The government is correct that Jeanette Finicum filed her

claim to the Rossi .38 caliber revolver in the wrong case.

Although the government does not seek to forfeit that firearm in

this criminal case, it does seek to forfeit that firearm civilly

in United States v. 50 Firearms, No. 3:16-cv-01057-MA.                 See

Compl.     (#1), Ex. A at 13.     Accordingly, Jeanette Finicum must

address her claim for the Rossi .38 caliber revolver in that

proceeding.      In order to facilitate the filing of her Petition as

to the Rossi .38 caliber revolver in that proceeding, the Court

directs the Clerk to file Jeanette Finicum's Amended Petition


       1
      Jeanette Finicum does not assert she is a bona fide
purchaser for value under 21 U.S.C. § 853(n) (6) (B).

4 -    ORDER DISMISSING IN PART AMENDED PETITION FOR ANCILLARY
       PROCEEDING TO RECOVER PROPERTY
      Case 3:16-cr-00051-BR       Document 2605   Filed 04/05/18   Page 5 of 7




(#2444) on the record in United States v. 50 Firearms, No. 3:16-

cv-01057-MA, together with an explanation for the record that the

Petition is filed in that case only as to the Rossi .38 caliber

revolver pursuant to this Order.

      Accordingly, on this record the Court DISMISSES in part

Jeanette Finicum's Petition in this case as to the Rossi .38

caliber revolver without prejudice to Jeanette Finicum's right to

pursue her claim in United States v. 50 Firearms, No. 3:16-cv-

01057-MA.

      With respect to the Aldo Uberti .45 caliber rifle, Jeanette

Finicum characterizes her interest in that firearm as follows:

                  8.  Based on the Response and Declaration filed
            in this case, my personal knowledge, and information
            shared with me from other knowledgeable people, I
            declare that this rifle belonged to my husband, LaVoy.
            I attached to the Original Petition a few photos that I
            recognize and understand to have been taken of La Voy
            while he was holding or carrying the rifle (in its
            scabbard, as he usually carried it) in the January 2016
            time period, while LaVoy was at the Malheur Refuge
            located in Harney County, Oregon.  These photos and
            others showing LaVoy with the rifle and scabbard are
            also available online.

                 9.   As the representative of Lavoy's Estate, I
            request that this rifle, with its scabbard and any
            other accessories be returned to me.

Am. Pet.    (#2444)   ~~   8-9.    Jeanette Finicum attached to her

original Petition (#2370) two photographs that depict LaVoy

Finicum carrying or holding a rifle.              In addition, Jeanette

Finicum attached to her Reply in support of her Amended Petition


5 -   ORDER DISMISSING IN PART AMENDED PETITION FOR ANCILLARY
      PROCEEDING TO RECOVER PROPERTY
      Case 3:16-cr-00051-BR   Document 2605   Filed 04/05/18   Page 6 of 7




an old photograph of LaVoy Finicum holding a rifle.              Although the

rifle(s) depicted in all three photographs may be the same, few

distinguishing features are sufficiently visible to make any such

determination from the photographs alone.

      As noted, however, the Court is required at this stage of

the proceedings to accept Jeanette Finicum's allegations as true.

Accordingly, Jeanette Finicum's allegations that she is the

representative of LaVoy Finicum's estate, and that she knows the

Aldo Uberti rifle belonged to LaVoy Finicum based on her personal

knowledge and the knowledge of others is sufficient to confer

standing and to state a claim under§ 853(n) (6) (A) at this early

stage of the proceedings.

      According to the government, however, the Aldo Uberti .45

caliber rifle was found in the possession of Duane Ehmer (another

individual who occupied the MNWR), could not be traced to any

registered owner because the rifle does not carry an "importer

stamp,~   and is not sufficiently clearly visible in any

photographs of LaVoy Finicum to conclude it is a firearm that he

owned.    In addition, Jeanette Finicum's representation that she

has personal knowledge of LaVoy Finicum's ownership of the Aldo

Uberti .45 caliber rifle may be undermined to some extent by her

earlier, but inaccurate, representation that she knows LaVoy

Finicum owned the Rossi lever-action rifle which, as noted, was

owned by someone else.        Although these facts may impact whether

6 -   ORDER DISMISSING IN PART AMENDED PETITION FOR ANCILLARY
      PROCEEDING TO RECOVER PROPERTY
                  Case 3:16-cr-00051-BR   Document 2605   Filed 04/05/18   Page 7 of 7
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            Jeanette Finicum ultimately establishes her claim by a

            preponderance of the evidence, her Amended Petition cannot be

            resolved on the record at this stage of the proceedings.                Thus,

            it is clear that discovery between the parties is necessary

            before the Court can proceed to consider and decide the merits of

            the disputed Amended Petition.        See Fed. R. Crim. P.

            32.2 (c) (1) (B).

                  Accordingly, on this record, the Court declines to dismiss

            that portion of Jeanette Finicum's Amended Petition in which she

            asserts a claim to the Aldo Uberti .45 caliber rifle.

                  The Court directs the parties to confer and to file no later

            than April 18, 2018, a single,       joint status report in which the

            parties set out a proposed case-management plan for any necessary

            discovery, a proposed deadline for any post-discovery dispositive

            motions, and a proposed date for any necessary contested hearing

            regarding Jeanette Finicum's Amended Petition.            Upon receipt of

            that Joint Status Report, the Court will schedule a telephone

            case-management conference with the parties.

                  IT IS SO ORDERED.

                  DATED this 5th day of April, 2018.




                                               ANNA J. BROWN
                                               United States Senior District Judge

            7 -   ORDER DISMISSING IN PART AMENDED PETITION FOR ANCILLARY
                  PROCEEDING TO RECOVER PROPERTY
